                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

In re:                                                         Case No. 09-55964

YURY JACOBS,                                                   Chapter 7

            Debtor.                                            Judge Thomas J. Tucker
__________________________________/

YURY JACOBS,

                Plaintiff,

v.                                                             Adv. Pro. No. 09-5588

VERSA CORP.,

            Defendant.
__________________________________/

                                         TRIAL OPINION

I. Introduction

         In this adversary proceeding, Versa Corp. seeks a determination that the debt owing to it

by the Chapter 7 Debtor, Yury Jacobs, is nondischargeable under 11 U.S.C. § 523(a)(2)(A).

The Court held a bench trial, and later entered an order permitting the parties to file post-trial

briefs regarding specified issues. When that briefing was completed, the Court took the case

under advisement.

         This opinion states the Court’s findings of fact and conclusions of law.

         For the reasons stated below, the Court finds for Yury Jacobs, and will enter judgment for

Yury Jacobs, dismissing Versa Corp.’s nondischargeability claim with prejudice.

II. Background

         On May 12, 2006, Versa Corp. loaned $55,000.00 to Paramount Wine & Liquor




     09-05588-tjt   Doc 103     Filed 10/21/11     Entered 10/21/11 17:10:36         Page 1 of 14
Company (“Paramount”). Yury Jacobs and his wife, Marina Jacobs, personally guaranteed

Paramount’s repayment of the loan.1 On November 1, 2006, Versa Corp. filed suit against

Paramount, Yury Jacobs, and Marina Jacobs in the Oakland County, Michigan Circuit Court. On

February 21, 2007, Versa Corp. obtained a judgment against these defendants, jointly and

severally, in the amount of $63,892.00.2 With post-judgment interest, that judgment debt was

$73,850.79 as of July 7, 2010.3

        On May 20, 2009, Yury Jacobs filed a Chapter 7 bankruptcy case in this Court, Case No.

09-55964. Jacobs obtained a discharge, by order filed August 26, 2009.4 The bankruptcy case

has been concluded, except for this adversary proceeding.

        Yury Jacobs filed this adversary proceeding on July 29, 2009. In his complaint, Jacobs

sought to avoid a garnishment lien that Versa Corp. claimed to have in the insurance proceeds of

a personal injury lawsuit that Jacobs brought and had settled in state court, before filing

bankruptcy. The complaint sought to avoid Versa Corp.’s claimed garnishment lien as a

preferential transfer under 11 U.S.C. § 547, based on a debtor’s power to avoid such transfers

under 11 U.S.C. § 522(h).5 Versa Corp. filed an answer to Jacobs’s complaint, and a

counterclaim. The counterclaim sought a determination that Jacobs’s debt to Versa Corp. was


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           Stipulated Fact No. 1, contained in the Second Amended Joint Final Pretrial Order (Docket #
50) at 5 (in this opinion, the stipulated facts in the final pretrial order are cited as “Stipulated Fact No.
___”); Defendant’s Exhibit A, D (in this opinion, Versa Corp.’s trial exhibits are cited as “DX-__.” Yury
Jacobs did not present any trial exhibits).
        2
            Stipulated Fact No. 5; DX-F.
        3
            DX-Y.
        4
            Docket # 49 in Case No. 09-55964, (the “main bankruptcy case”).
        5
            Complaint (Docket # 1).

                                                     2



  09-05588-tjt       Doc 103      Filed 10/21/11      Entered 10/21/11 17:10:36           Page 2 of 14
nondischargeable under § 523(a)(2)(A), as a debt incurred by fraud.6

         Meanwhile, in the main bankruptcy case, Jacobs filed a motion to avoid Versa Corp.’s

garnishment lien, based on 11 U.S.C. § 522(f), which permits a debtor to avoid a judicial lien to

the extent that lien impairs the debtor’s exemption(s).7 After holding a hearing, the Court

granted Jacobs’s motion and avoided Versa Corp.’s lien, based on § 522(f)(1)(A), on October 28,

2009.8 This ruling made Jacobs’s complaint in this adversary proceeding moot. For this reason,

the Court entered an order dismissing Jacobs’s complaint as moot.9 The adversary proceeding

remained pending for further proceedings on Versa Corp.’s nondischargeability counterclaim.

         Versa Corp. later filed an amended counterclaim, adding a Count II objecting to Jacobs’s

discharge under 11 U.S.C. § 727(a).10 Jacobs moved for summary judgment on the

counterclaims.

         After holding a hearing, the Court granted that motion in part and denied it in part.11 The

Court granted summary judgment in favor of Jacobs on Count II of Versa Corp.’s counterclaims

(the objection to discharge under § 727(a)), and dismissed that count with prejudice. The Court

granted partial summary judgment for Jacobs on Count I, the § 523(a)(2)(A) nondischargeability


         6
              Docket # 4.
         7
              Docket # 34 in the main bankruptcy case, filed on July 29, 2009.
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            Docket # 72 in the main bankruptcy case. A transcript of the Court’s bench opinion explaining
its ruling is on file in the main bankruptcy case, at Docket # 85.
         9
              Docket # 15; see also transcript of bench opinion at Docket # 85 in the main bankruptcy case,
at 38.
         10
              Docket # 19, filed November 10, 2009.
         11
          Docket # 38. A transcript of the Court’s bench opinion explaining its ruling is on file at
Docket # 45.

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  09-05588-tjt         Doc 103      Filed 10/21/11      Entered 10/21/11 17:10:36          Page 3 of 14
count. The remainder of that count went to trial, and is the subject of this trial opinion.

III. Jurisdiction

        This Court has subject matter jurisdiction over this adversary proceeding under 28 U.S.C.

§§ 1334(b), 157(a) and 157(b)(1), and Local Rule 83.50(a)(E.D. Mich.). With respect to Versa

Corp.’s nondischargeability claim, this is a core proceeding under 28 U.S.C. § 157(b)(2)(I).12

IV. Discussion

        A. Versa Corp.’s burden of proof, and the elements of Versa Corp.’s
           nondischargeability claim under § 523(a)(2)(A)

        In this case, Versa Corp. alleges that Yury Jacobs made several misrepresentations to it,

in the form of both affirmative misrepresentations and a fraudulent failure to disclose important

facts. A “failure to disclose can amount to misrepresentation. A condition to invocation of the

doctrine, however, is that there be a duty to make disclosure.” Rowe v. Steinberg (In re

Steinberg), 270 B.R. 831, 835 (Bankr. E.D. Mich. 2001). Versa Corp. claims that Jacobs’s debt

to it, on his personal guaranty of the Paramount loan, is nondischargeable under 11 U.S.C.

§ 523(a)(2)(A). (As discussed below, Versa Corp. has not claimed that the debt is

nondischargeable under 11 U.S.C. § 523(a)(2)(B).)

        Exceptions to discharge, including the exceptions under § 523(a)(2), “are to be strictly

construed against the creditor.” Rembert v. AT&T Universal Card Servs., Inc. (In re Rembert),

141 F.3d 277, 281 (6th Cir. 1998) (citing Manufacturer’s Hanover Trust v. Ward (In re Ward),



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           With respect to other claims in this adversary proceeding, which were disposed of by orders
entered previously, each such claim was a core proceeding. Count II of Versa Corp.’s amended
counterclaims, the objection to discharge under § 727(a), was a core proceeding under 28 U.S.C.
§ 157(b)(2)(J). Jacobs’s complaint, seeking to avoid Versa Corp.’s garnishment lien as a preference, was
a core proceeding under 28 U.S.C. § 157(b)(2)(F).

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  09-05588-tjt      Doc 103     Filed 10/21/11      Entered 10/21/11 17:10:36         Page 4 of 14
857 F.2d 1082, 1083 (6th Cir. 1988)). The creditor must prove each of the elements under

§ 523(a)(2)(A) or (B) by a preponderance of the evidence. Id. (citing Grogan v. Garner, 498

U.S. 279, 291 (1991)).

       Section 523(a)(2)(A) excepts from discharge “any debt — . . . (2) for money, property,

services, or an extension, renewal, or refinancing of credit, to the extent obtained by — . . . (A)

false pretenses, a false representation, or actual fraud, other than a statement respecting the

debtor’s or an insider’s financial condition.” 11 U.S.C. § 523(a)(2)(A). While § 523(a)(2)(A)

applies to misrepresentations “other than a statement respecting the debtor’s or an insider’s

financial condition,” § 523(a)(2)(B) applies to fraud based upon a statement “respecting the

debtor’s or an insider’s financial condition,” and any such statement must be in writing. 11

U.S.C. § 523(a)(2)(B); see generally Primm Capital Corp. v. May (In re May), 368 B.R. 85,

(B.A.P. 6th Cir. 2007)(unpublished).13

       The Sixth Circuit has described the elements of nondischargeability under § 523(a)(2)(A)

in this way:

                 In order to except a debt from discharge under § 523(a)(2)(A), a
                 creditor must prove the following elements: (1) the debtor obtained
                 money through a material misrepresentation that, at the time, the
                 debtor knew was false or made with gross recklessness as to its

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            A debt is nondischargeable under § 523(a)(2)(B) to the extent it is obtained by:

                   use of a statement in writing —

                   (i) that is materially false;
                   (ii) respecting the debtor’s or an insider’s financial condition;
                   (iii) on which the creditor to whom the debtor is liable for such money, property,
                         services, or credit, reasonably relied; and
                   (iv) that the debtor caused to be made or published with intent to deceive[.]

11 U.S.C. § 523(a)(2)(B).

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  09-05588-tjt      Doc 103       Filed 10/21/11      Entered 10/21/11 17:10:36          Page 5 of 14
               truth; (2) the debtor intended to deceive the creditor; (3) the
               creditor justifiably relied on the false representation; and (4) its
               reliance was the proximate cause of loss.

Rembert, 141 F.3d at 280-81 (citation omitted).

       B. The issue whether Yury Jacobs’s alleged misrepresentations were statements
          “respecting the debtor’s or an insider’s financial condition”

       An important issue in this case is whether Yury Jacobs’s alleged misrepresentations to

Versa Corp. were statements “respecting the debtor’s or an insider’s financial condition,” within

the meaning of §§ 523(a)(2)(A) and (B). Jacobs disputes that he made many of the allegedly

false representations at issue, and he denies that he made any representations that were false. But

Jacobs also contends that § 523(a)(2)(A) does not apply to any of the misrepresentations alleged

by Versa Corp., because all of the misrepresentations were statements “respecting the debtor’s or

an insider’s financial condition.” According to Jacobs, only § 523(a)(2)(B) could apply to such

misrepresentations, and Versa Corp. has not pled, claimed, or proven the necessary elements of

nondischargeability under § 523(a)(2)(B).

       1. The applicable standard

       This Court has discussed the law on this issue in prior opinions, including two of

particular relevance to this case. First, in the case of Willens v. Bones (In re Bones), 395 B.R.

407, 429-31 (Bankr. E.D. Mich. 2008), this Court stated:

               There are two significant differences between the Plaintiffs’
               nondischargeability claims under subsections (A) and (B) of
               § 523(a)(2). First, any misrepresentation by John Bones
               “respecting [his or SCSW’s] financial condition” must have been
               in writing, and can only be deemed nondischargeable under
               subsection (B), not subsection (A). Any other misrepresentations
               can create nondischargeability only under subsection (A), whether
               they were oral or written. Second, reliance by Plaintiffs in this case


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  09-05588-tjt    Doc 103      Filed 10/21/11      Entered 10/21/11 17:10:36          Page 6 of 14
           on any given misrepresentation by Bones must have been
           “reasonable” to the extent it is assessed under subsection (B). To
           the extent subsection (A) applies, however, a lesser reliance
           standard applies — Plaintiffs’ reliance on the misrepresentation(s)
           merely needs to be “justifiable.”

           These distinctions turn upon how broadly the Court construes the
           statutory phrase “respecting the debtor’s or an insider’s financial
           condition.” There is a split of authority among the federal circuits
           and lower courts on this, and the Sixth Circuit has not ruled on the
           issue. The Sixth Circuit Bankruptcy Appellate Panel has ruled on
           the issue, in the unpublished decision Primm Capital Corp. v. May
           (In re May), and described the split in the case law:

                  Few circuit courts have directly addressed this issue.
                  Two views have emerged on the proper
                  interpretation of the phrase “respecting the debtor's
                  ... financial condition.” The "broad interpretation”
                  includes any communication that has a bearing on
                  the debtor's financial position. In other words, any
                  communication addressing the status of a single
                  asset or liability qualifies. See Cadwell v. Joelson
                  (In re Joelson), 427 F.3d 700, 705 (10th Cir. 2005),
                  cert. denied - - - U.S. - - - , 126 S.Ct. 2321 (2006).
                  The strict interpretation, on the other hand, limits
                  statements “respecting the debtor's ... financial
                  condition” to communications that purport to state
                  the debtor's overall net worth, overall financial
                  health, or equation of assets and liabilities. See id.
                  at 705.

                  The Fourth Circuit has adopted the broad
                  interpretation. Engler v. Van Steinburg (In re Van
                  Steinburg), 744 F.2d 1060 (4th Cir.1984).
                  Meanwhile, the Eighth Circuit provides support for
                  the strict interpretation. Rose v. Lauer (In re Lauer),
                  371 F.3d 406, 413-14 (8th Cir.2004). Likewise, the
                  Tenth Circuit in a detailed opinion also has adopted
                  the strict interpretation. Joelson, 427 F.3d at 705.

           368 B.R. 85 (B.A.P. 6th Cir. 2007) (unpublished). The May Court
           chose to follow the “strict interpretation,” holding that statements
           “respecting the debtor’s financial condition” are only those “that


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09-05588-tjt   Doc 103    Filed 10/21/11     Entered 10/21/11 17:10:36           Page 7 of 14
                  actually claim to state the debtor’s overall financial health, net
                  worth or assets and liabilities.” Id.

                  In this case, it is unnecessary for the Court to choose sides on the
                  case law split on this issue. Nor is it necessary to sort out which of
                  John Bones’s misrepresentations had to be written to be actionable
                  under § 523(a)(2), or to decide which of the misrepresentations
                  must be evaluated under the less demanding “justifiable” reliance
                  element under § 523(a)(2)(A), as opposed to the “reasonable”
                  reliance element under § 523(a)(2)(B). This is because the
                  Plaintiffs have failed to prove that their reliance on any of Bones’s
                  misrepresentations was either “justifiable” or “reasonable.”

        The second prior decision of this Court is a bench opinion that the Court gave in the case

of First Mutual Bank v. Burkett (In re Burkett), Case No. 09-4130, on November 3, 2009, after a

trial.14 In the Burkett case, this Court disagreed with the Sixth Circuit Bankruptcy Appellate

Panel’s decision in the May case,15 quoted above, and adopted the “broad interpretation” of the

statutory phrase “a statement respecting the debtor’s or an insider’s financial condition,” rather

than the “strict interpretation.”16

        The Court now reiterates its previous holding from the Burkett case. As a result, the

Court holds that the statutory phrase, “a statement respecting the debtor’s or an insider’s financial

condition,” includes “any communication that has a bearing on the debtor's financial position. In

other words, any communication addressing the status of a single asset or liability qualifies.” See



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          A transcript of that bench opinion was filed in the Burkett case on December 8, 2009 at
Docket # 60. A full copy of that transcript also was attached to the Court’s Order filed in this adversary
proceeding on April 15, 2011 (Docket # 98).
        15
           The decisions of the Bankruptcy Appellate Panel may be persuasive, but they are not binding
on this Court as a matter of stare decisis. See Barringer v. Eab Leasing (In re Barringer), 244 B.R. 402,
403-04 (Bankr. E.D. Mich. 1999); see also Rinard v. Positive Invs., Inc. (In re Rinard), 451 B.R. 12, 20-
21 (Bankr. C.D. Cal. 2011).
        16
             See Burkett bench opinion transcript (Docket # 98) at p. 5 line 3 through p. 11 line 23.

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  09-05588-tjt       Doc 103       Filed 10/21/11      Entered 10/21/11 17:10:36           Page 8 of 14
Primm Capital Corp. v. May, quoted above (describing the “broad interpretation” of the statute).

Under this broad approach, “courts have included statements that reflect on the debtor’s ability to

pay as statements respecting a debtor’s financial condition.” Material Products Int’l. v. Ortiz (In

re Ortiz), 441 B.R. 73, 83 (Bankr., W.D. Texas 2010)(citations omitted).

       This interpretation of the statute is the better reading of the actual words used in the

statute. See Engler v. Van Steinburg (In re Van Steinburg), 744 F.2d 1060, 1061 (4th Cir.1984).

And as this Court explained in Burkett, this interpretation:

               complies with the requirement the 6th Circuit has imposed . . . that
               exceptions to discharge under Section 523(a), including
               specifically exceptions to discharge under Section 523(a)(2)(A),
               are to be strictly construed against the creditor.
               ...

               That principle . . . requires adopting the so-called broad
               interpretation of this phase in Section 523(a)(2)(A). That is so . . .
               because taking that approach benefits the debtor and construes the
               statute . . . strictly against the creditor as required by 6th Circuit
               case law.

               [T]hat is so is because that meaning . . . will expand and increase
               the number of alleged fraudulent representations or omissions that
               creditors may cite that . . . fall under Section 523(a)(2)(B) rather
               than 523(a)(2)(A). That benefits the debtors and works against the
               creditors for a couple of reasons.

               One . . . reason is [that] it will require . . . that any such statements
               be in a writing since that is one of the . . . requirements of Section
               523(a)(2)(B) [—] oral statements or omissions are not covered by
               that section.

               A second reason that interpretation works against the creditors
               generally and favors the debtor is that there is a higher standard of
               reliance imposed by Section 523(a)(2)(B) than under 523(a)(2)(A).
               The reliance required . . . under Section 523(a)(2)(B) is that the
               creditor reasonably relied upon the alleged fraudulent
               misrepresentation or omission.


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  09-05588-tjt    Doc 103      Filed 10/21/11       Entered 10/21/11 17:10:36           Page 9 of 14
                  That is a more demanding standard of proof than the so-called
                  justifiable reliance element . . . that applies under Section
                  523(a)(2)(A). [See Willens v. Bones, 395 B.R. at 431-33.]

                  So the broad interpretation of [§] 523(a)(2)(A)’s phrase “other than
                  a statement respecting the debtor’s financial condition” is one that
                  . . . comports with the 6th Circuit’s requirement that the Court
                  construe this exception to discharge strictly against the creditor.17

        2. Application of the standard to this case

        The misrepresentations that Versa Corp. claims Yury Jacobs made, in persuading Versa

Corp. to make the $55,000.00 loan to Paramount, are stated in the affidavit of Vladislav Safir, an

officer of Versa Corp. Mr. Safir’s affidavit was admitted into evidence at trial, by agreement of

the parties, in lieu of Safir’s live testimony.18 The affidavit details the alleged misrepresentations

by Yury Jacobs, as follows:

                  1.      I am an authorized officer of Versa Corp, and I personally
                          dealt with Yury Jacobs regarding his solicitation for
                          funding of a third container of liquor that he wanted to
                          import from Russia in the spring of 2005.

                  2.      As a part of the solicitation, Mr. Jacobs provided
                          VersaCorp with a copy of a business plan that he prepared.

                  3.      Mr. Jacobs represented to VersaCorp that there would be
                          approximately $10.00 to $15.00 per bottle in profit generated from
                          the transaction.

                  4.      Mr. Jacobs further represented that in the event the business
                          transaction with VersaCorp was unsuccessful that he had the
                          financial means to satisfy the obligation from funds separate and
                          distinct from those that may have been generated from the business
                          transaction with VersaCorp.


        17
             Burkett bench opinion (Docket # 98), transcript pp. 9-10.
        18
           DX-Z; Trial Transcript (Docket # 101) at 4-6. A copy of this affidavit also appears in the
record at Docket # 30, at pdf pp. 22-28.

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 09-05588-tjt          Doc 103    Filed 10/21/11      Entered 10/21/11 17:10:36        Page 10 of 14
                5.      Specifically, Jacobs represented that sales from the first two
                        containers were going great, and he would have sufficient money
                        to repay the loan as soon as the liquor was sold.

                6.      Jacobs also represented that he was establishing exclusive
                        distributorships with companies in several states, including New
                        York, Illinois and Ohio, and that he was going to get a cut of all
                        liquor purchased by these distributorships. Mr. Jacobs projected
                        that money generated from this part of the business would be more
                        than enough to repay the loan.

                7.      In addition to representations that hundreds of thousands of dollars
                        could be generated through the business of General Wine &
                        Liquor, he made representations to VersaCorp that he had invested
                        his own money into purchasing the first two containers, and that
                        once the liquor sold he would have sufficient funds to satisfy the
                        debt.

                8.      Yury Jacobs intentionally concealed the fact that he had borrowed
                        money from other people to finance the purchase of the first two
                        containers, and that money from the sale of liquor from the first
                        two containers was going to be used to repay these debts.

                9.      Contrary to the representations made by Yury Jacobs, there were
                        no profits from the first two containers, he had no income from any
                        other business, his sole source of income was Social Security
                        Disability and he had no savings.

                10.     VersaCorp confirmed that Yury Jacobs had an exclusive contract
                        to import the liquor as represented, confirmed that Paramount
                        Wine & Liquor had obtained the requisite import license and also
                        confirmed that the liquor would be registered with MLCC through
                        General Wine & Liquor.

                11.     Based upon the representations of Mr. Jacobs, together with
                        the information that was verified, VersaCorp decided to
                        loan Paramount Wine & Liquor $55,000.00 as part of a
                        business transaction on May 12, 2006. This loan was
                        personally guaranteed by Yury Jacobs.19


        19
          DX-Z at ¶¶ 1-11; see also Versa Corp.’s Post-Trial Br. (Docket # 99) at 1-3 (detailing the
same alleged misrepresentations); Second Amended Joint Final Pretrial Order (Docket # 50) at 1-3

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 09-05588-tjt        Doc 103   Filed 10/21/11       Entered 10/21/11 17:10:36          Page 11 of 14
          Versa Corp. argues that many of these misrepresentations were not statements regarding

the financial condition of Yury Jacobs, but rather concerning the financial condition of Jacobs’s

corporation, Paramount.20 But the flaw in this argument is that Paramount clearly was an

“insider” of the debtor Yury Jacobs, as the term “insider” is used in subsections (A) and (B) of

§ 523(a)(2). “Insider” includes, in the case of an individual debtor, a “corporation of which the

debtor is a director, officer, or person in control.” 11 U.S.C. § 101(31). Paramount was a

Michigan corporation, and while its only named officer was Yury Jacobs’s wife, Marina Jacobs,21

Yury Jacobs clearly was the person in control of the corporation. Yury Jacobs formed the

corporation, originally under a different name,22 and the evidence is undisputed that Yury Jacobs

completely controlled the company and all of its operations, and made all of its business

decisions. For example, Versa Corp.’s attorney elicited this testimony from Yury Jacobs at trial:

                    Q . . . . So you – your wife was identified as the only officer, but
                    you were actually the one operating the day to day operations of
                    Paramount Wine & Liquor, correct?

                    A. That’s correct.

                    Q. And all of the business plan and ideas and day to day decisions
                    for Paramount Wine & Liquor came from you, correct?

                    A. That’s correct.23


(same).
          20
           See Versa Corp.’s Post-Trial Br. (Docket # 99) at 4 (“The representations made by Jacobs and
relied upon by Versa Corp were not regarding Jacobs’ financial condition, but rather . . . the financial
condition of Paramount Wine & Liquor.”)
          21
               Trial Transcript at 24-25, 26; DX-N.
          22
               Trial Transcript at 24-25.
          23
               Id. at 26-27.

                                                      12



 09-05588-tjt          Doc 103      Filed 10/21/11     Entered 10/21/11 17:10:36           Page 12 of 14
        Because Paramount was an “insider” of the debtor Yury Jacobs, any alleged

misrepresentations by Jacobs respecting the financial condition of Paramount fall within the

exception to § 523(a)(2)(A)’s coverage. That is, all such representations fall within the meaning

of the statute’s phrase, “other than a statement respecting the debtor’s or an insider’s financial

condition,” so that § 523(a)(2)(A) does not apply to them.

        The Court finds and concludes that every one of the misrepresentations that Versa Corp.

alleges in this case was a “statement respecting the debtor’s or an insider’s financial condition,”

such that § 523(a)(2)(A) does not apply to any of them. Each alleged misrepresentation “has a

bearing on the debtor's financial position,” Primm Capital Corp. v. May, quoted above, and

“reflect[s] on the debtor’s ability to pay.” Material Products Int’l. v. Ortiz, quoted above. As a

result, Versa Corp.’s nondischargeability claim fails, because it is limited to § 523(a)(2)(A).

        Versa Corp. did not plead, argue, or prove a nondischargeability claim under

§ 523(a)(2)(B). Even if Versa Corp. had preserved such a claim, the claim would fail because

Versa Corp. did not prove that Jacobs made any misrepresentation in any writing, as required by

§ 523(a)(2)(B). With the possible exception of the “business plan” referred to in ¶ 2 of Mr.

Safir’s affidavit, quoted above, none of the alleged misrepresentations were made in writing.

And Versa Corp. did not argue, or present any evidence to prove, that any statement made in the

written business plan was false.24

        The only other writings that Versa Corp. might conceivably claim contained false

representations are Defendant’s Exhibits H, J, and K. But each of these documents was both


        24
           The “business plan” was the document admitted into evidence as DX-G. (See Trial Transcript
at 64-66.) Versa Corp. has not identified any statement in that document that it says was false, and has
not proven that any statement in that document was false.

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 09-05588-tjt     Doc 103      Filed 10/21/11      Entered 10/21/11 17:10:36          Page 13 of 14
dated and created long after Versa Corp. made its $55,000.00 loan to Paramount on May 12,

2006.25 No evidence was presented at trial that Jacobs provided any of these documents to Versa

Corp. before the loan was made. So none of these documents could possibly have induced Versa

Corp. to make the loan. And in any event, the Court finds that Versa Corp. failed to meet its

burden of proving that any of these documents contain any false statements.

        Finally, Versa Corp. introduced into evidence two documents, DX-S and DX-T. These

are two invoices that Paramount received in March 2006, relating to the shipment of two prior

liquor containers. Jacobs gave these to Versa Corp. to give it an idea of how much the shipping

and other charges would be to bring a third container of liquor into the United States.26 Versa

Corp. does not claim that there are any false statements in either of these documents.

        For the reasons stated above, Versa Corp.’s nondischargeability claim fails.27

V. Conclusion

        Based on the findings of fact, conclusions of law, and the reasons stated in this opinion,

the Court will enter judgment for Yury Jacobs, dismissing Versa Corp.’s nondischargeability

claim with prejudice.

Signed on October 21, 2011                                        /s/ Thomas J. Tucker
                                                                  Thomas J. Tucker
                                                                  United States Bankruptcy Judge




        25
             DX-H (dated July 6, 2006); DX-J (dated June 29, 2006); DX-K (dated November 10, 2006).
        26
             Trial Transcript at 71-73.
        27
           Because of this disposition, the Court does not need to address other disputed issues relating
to whether Versa Corp. met all of the elements of nondischargeability under § 523(a)(2)(A).

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 09-05588-tjt        Doc 103      Filed 10/21/11     Entered 10/21/11 17:10:36          Page 14 of 14
